Case 1:20-cv-03644-CCB Document 19-13 Filed 01/21/21 Page 1 of 17

EXHIBIT 10

Ozah v. Fretwell, et al.
Civil Action No: CCB-18-1063

Defendants’ Motion to Dismiss or, Alternatively, for Summary Judgment
~~ Case 1:20-cv-03644-CCB Document 19-13 Filed 01/21/21 Page 2 of 17

POST MORTLaI EXAMINATION

OFFICE OF THE CHIEF MEDICAL EXAMINER
STATE OF MARYLAND

 

 

 

CAUSE OF DEATH: (a)
{b)

(c)
(4)

Other significant conditions:

Bipolar Disorder

HOW INJURY OCCURRED:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CASE NO. 18-11079
Autopsy _X__ Inspection
JURISDICTION: Talbot { Maryland State Police DME/FI_ Kelly, Serenity
furisdiction of DeatPolice Investigating
‘NAME OF DECEASED: ~. Black
RESIDENCE OF
DECEASED:
AGE: 19 Years SEX: Male RACE: African American
DATE OF INCIDENT: 99/15/18 TIME: 1930 hours
ADDRESS OF INCIDENT: ; seecmoapunmamsee ge “
PRONOUNCED DEAD: 09/55/18 - “TIME: 2036 hours
ADDRESS/INSTITUTION.) UNIV OF MD SHORE MEDICAL CENTER AT EASTON, EASTON
DME/FYOCME 08/1548 ».. TIME: 2106 hours
NOTIFIED: am
BY WHOM: Talbot Center é3 a
PRANSPORTED TO OCME: Fellows, Helfenboin Newndih i.
DATE OF AUTOPSY: 09/16/18 ~o CUIME: 0800 hours
PERFORMED BY: Russell Alexander M.D., Assistant Medical Examiner

 

 

 

 

 

 

Sudden Cardiac Death Natural
Anomalous Right Coronary Artery and Myocardial X Accident
Tunneling of the Left Anterior Descending Coronary Suicide
Artery —
_. Homicide
Could Not Be
™ Determined’

 

Subject suffered cardiac arrest while being restrained by law enforcement

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POST MORTEM EXAMINATION REPORT PAGE
OFFICE OF THE CHIEF MEDICAL EXAMINER |
Case Nurnber: 18-119079 STATE OF MARYLAND 1

 

Name: BLACK

 

 

 

 

An autopsy was performed on the body of ANTON MILBERT L. BLACK at the Office of
the Chief Medical Examiner for the State of Maryland on the 16 day of September 2018.

EXTERNAL EXAMINATION

The body was that of a well-developed, well-nourished, adult black male. The body was received unclad. The
body weighed 159 pounds, was 5'9" in length and appeared compatible with the reported age of 19 years. The
body was cool. Rigor was fully fixed in the extremities and jaw. Fixed purple livor mortis was on the posterior
surfaces of the body, except in areas exposed to pressure. The scalp hair was black, curly, and arranged in
_moderately long braids. Facial hair consisted of a black mustache and tuft of hair on the chin. The irides were
brown. The comeae were slightly clouded. The conjunctivae were slightly congested with a few petechiae on
the right lateral bulbar conjunctivae. Two hemorrhages, 1/8” and 1/16", were on the left lower lateral bulbar
conjunctiva. Otherwise dhe, sclerae were white. Bloody fluid was at the mouth and nares. The external auditory
canals were free of forelgi’ fnateria and abnormal secretions. The nasal skeleton was palpably intact. The lips
were normally formed. The anterier: éeth were natural and in adequate condition. No oral petechiae were noted.
No petechiae were on the facial skins..7He neck organs were in the midline position and appeared normally
formed. The chest was unremarkable, Thé abd ittyen was flat. Smal! scars were on the back and extremities.
The upper and lower extremities were symmetri Raggyitou absence of digits. The fingernails were short,
plean, trimmed and intact. No tattoos were identified. 4h gitemial genitalia were those of an adult circumcised
male. The testicles were bilaterally descended within a dried scrote. The posterior torso was without note. The
anus was unremarkable. oF PS

EVIDENCE OF THERAPY

Evidence of medical intervention included: an orotracheal tube; defibrillator pads on the
chest; bilateral chest tubes; a decompression catheter in the right side of the top of the chest; a
peripheral intravenous catheter in the right antecubital fossa; and a peripheral intravenous
catheter in the posterior right hand. Multiple red-brown abrasions, up to 1-7/8”, on the mid-
chest were consistent with injuries due to resuscitative efforts.

 

EVIDENCE OF INJURY

I. BLUNT FORCE TRAUMA .

A 1/2 x 3/8” red abrasion was on the right side of the forehead. A 1/8” red
abrasion was on the left side of the forehead. Multiple red abrasions, up to ’4”, were on
the nose. A % x 3/16” red-purple abraded contusion was on the lateral left upper
eyelid. A 1/16” red abrasion was just lateral of the left eye. A 1-1/2 x 5/8” red-tan
abrasion was on the right side of the face. A 3/16” red abrasion was just below the left
naris of the nose, Multiple red.abrasions, up to 4”, were just below the left comer of
the mouth. Two red abrasions, each “4”, were on the right lateral inner upper lip.
Multiple red abrasions, up to 4", were on the left lateral inner upper lip. Multiple red
abrasions, up to 3/16”, were on the right lateral inner lower lip. A 1/8” red abrasion
was on the left lateral lower lip. A 3/16” red abrasion was on the left medial inner
lower lip. A % x 1/8” area of red-purple abraded contusion was on the left lateral

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inner lower lip. A 3/8 x 1/4” red-purple abraded contusion and a 1/8” purple contusion
were on the right buccal mucosa.

Two brown abrasions, each 1/16”, were on the helix of the left ear. Multiple
red abrasions and purple contusions, up to 1/2”, were on the inner aspect of the left
ear. Multiple red abrasions and purple contusions, up to 1/8”, were just behind the left
ear and on the adjacent posterolateral neck. A 3/8 x 1/4” red-purple abraded contusion
was on the left anterior base of the neck. A 1/8” red abrasion was on the lefi posterior
neck,

Multiple linear brown crusted abrasions, up to 7/8”, were on the right upper
back. Multiple linear brown crusted abrasions, up to 1/2”, and purple contusions, up
to 1/8”, were on the left upper back. Cut-downs were performed along the posterior
neck, back and extremities. A 2-1/2 x 2” area of subcutaneous hemorrhage was on the
mid uppe?pack; no underlying muscle heniorrhage, contusion or other injury was
noted, andro 9 fractures were noted. A 1-1/2 x 1” area of subcutaneous hemorrhage
was on the mid ur gil iyabar area; no underlying muscle hemorrhage, contusion or
other injury was noteds..”

A few purple conitisions! “up to 3/16”, were on the anterior right shoulder,
Multiple purple contusions, up to t ay Sere on the medial right arm. Multiple linear red
abrasions, up to 3/8”, were on the: “posteromedial right forearm. A 1/16” brown
abrasion was on the posterolateral right wrist. ““ Oy

Two red abrasions, 1-1/2 x 1/2” and 1 x ge % were on the top of the left
shoulder, Multiple linear red abrasions, up to 3/8”, werd ithe posteromedial distal
left forearm. A 5/16 x 3/16” red-purple abraded contusion was on the posteromedial
left wrist. Three red abrasions, each 1/16", were on the posterior left hand. A 1/8”
brown abrasion was on the posterior left hand. A 1/8” purple contusion with adjacent
1/8” red abrasion was on the posterior left middle finger. A 1/8” red abrasion was on
the posterior left index finger. Cut-downs of the wrists revealed no hemorrhage,
contusions, or other abnortnalities within the soft tissues and muscles of the wrists.

A 2-1/2 x 3/4” red abrasion was on the anterolateral right thigh. A 3/4 x 1/4”
red abrasion was in the anterior right knee. A 3/8 x 1/4” red abrasion was on the
medial right ankle. Two brown crusted abrasions, 1/8” and 1/4", were on the top of
the right foot. Multiple brown crusted abrasions, up to 3/16”, were on the top of the
left foot. Cut-downs of the ankies revealed no hemorrhage, contusions, or other
abnormalities within the soft tissues and muscles of the ankles.

 

IL. TASER .
A TASER dart without attached wire was in the left buttock; a 1-1/4” segment

of the dart extended out from the skin of the buttock. When removed from the
buttock, the dart consisted: of a 1” long base with attached 4” barbed end. The taser
wound in the left buttock consisted of a 1/16” puncture mark with two linear red
abrasions, each 4”, arranged in a semicircular pattern along the medial edge. A 1/8” x
1/8” purple contusion was just lateral to the puncture mark, A | x 4” pressure mark
extended superomedially from the puncture wound. The hemorrhagic wound track of
the dart extended 4” through the subcutaneous tissue and was associated by a 1-7/8 x

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Case 1:20-cv-03644-CCB Document 19-13 Filed 01/21/21 Page 5 of 17

 

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Name:
OFFICE OF THE CHIEF MEDICAL EXAMINER.

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POST MORTEM EXAMINATION REPORT PAGE

 

 

%” area of fascial hemorrhage on the underlying muscle of the buttock. Sectioning of
the muscle revealed hemorrhage on the surface of the muscle, but not extending into

the substance of the muscle.

INTERNAL EXAMINATION

BODY CAVITIES:
The body was opened by the usual thoraco-abdominal incision and the chest plate was removed. No adhésions

or abnormal collections of fluid were in any of the body cavities. All body organs were in the normal anatomic
position.

HEAD: (CENTRAL NERVOUS SYSTEM)
The scalp was reflected, 7'he calvarium of the skull was removed. The dura mater and falx cerebri were intact.

‘There was no epidural of $ébéural hemorrhage. Further description of the brain, dura and spinal cord will be

given within the "Neuropathology Agport”. The brain weighed 1400 grams.

ee

NECK: ~ ORS

A layered anterior neck dissection revealed no heiriorthage, contusion or other abnormalities within the strap
muscles, soft tissues and large vessels of the anterior nek at he,hyoid bone and larynx were intact. A posterior
neck dissection revealed no hemorrhage, contusion or other abiioriialities within the soft tissues or muscles of

the posterior neck; the bony elements of the posterior neck were intact: © .~ -

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CARDIOVASCULAR SYSTEM:

Further description of the heart will be given within the "Cardiovascular Pathology Report". The aorta and
its major branches arose normally, followed the usual course and were widely patent, free of significant
atherosclerosis and other abnormality. The vena cava and its major tributaries returned to the heart in the usual

distribution and were free of thrombi. The heart weighed 390 grams.

- RESPIRATORY SYSTEM:

The upper airways were clear of debris and foreign material; the mucosal surfaces were smooth, yellow-tan and
unremarkable. The pleural surfaces were smooth, glistening and unremarkable. The pulmonary parenchyma was
red-purple and congested, exuding mild amounts of blood and frothy fluid; no focal Jesions were noted. The
pulmonary arteries were normally developed, patent and without thrombus or embolus. The right lung weighed

520 grams; the lefi 340 prams,

LIVER & BILIARY SYSTEM:
The hepatic capsule was smooth, glistening, intact, and covered a dark red-brown parenchyma with no focal

lesions noted. The gallbladder contained 20 mL of green-brown, mucoid bile; the mucosa was velvety and
unremarkable. The extrahepatic biliary tree was patent, without evidence of calculi. The liver weighed 1710

grams,

ALIMENTARY TRACT:

The tongue exhibited no evidence of recent injury. The esophagus was lined by a gray-white, smooth mucosa.

The gastric mucosa was arranged in the usual rugal folds and the lumen contained 200 mL of dark brown liquid.

 
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| Name: . BLACK POST MORTEM EXAMINATION REPORT PAGE
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The gastric mucosa was diffusely congested, but no ulcers or perforations were noted. The small and large
bowels were unremarkable. The pancreas had a normal pink-tan lobulated appearance and the ducts were clear.

The appendix was unremarkable.

GENITOURINARY SYSTEM:
The renal capsules were smooth and thin, semi-transparent and stripped with ease from the underlying smooth,

red-brown cortical surfaces. The cortices were sharply delineated from the medullary pyramids, which were red-
purple and unremarkable. The calyces, pelves and ureters were unremarkable. The urinary bladder contained 20
mL of yellow urine; the mucosa was gray-tan and smooth. The prostate gland was without note. The right

kidney weighed 150 grams; the left 150 grams.

RETICULOENDOTHELIAL SYSTEM:
The spleen had a smooth; intact capsule covering a red-purple, soft parenchyma; the lymphoid follicles were
unremarkable. The regional !yfiph nodes appeared normal. The spleen weighed 120 grams.

AP
ENDOCRINE SYSTEM: MO pe
The thyroid and adrenal glands were unreniarkabié; |
Mga i} _
WUSCULOSKELETAL SYSTEM: A?

Muscle development was normal. No bone or joint abnormalities/tvere noted. The neck was stable on internal
palpation. No fractures were noted within the ribs or spine. Cut-downs were performed along the back, and no
hemorrhage, contusions or other abnormalities were noted, except as prévidesly described; no fractures were
noted. Cut-downs were performed along the upper and lower extremities; no hemorrhage, contusions or other
abnormalities were noted. No hemorrhage, contusions or other abnormalities were noted within the wrists or

ankles.
MICROSCOPIC EXAMINATION

Lungs: Sections of the lings showed congestion, edema and intra-alveolar hemorrhage. Scattered clumps of
bacteria without an associated inflammatory response likely represent post-mortem overgrowth. Mild, mostly
chronic inflammation was around some airways, and increased mucus was noted within some airways;
asthmatic type changes were not prominent.

Airways: Sections of the trachea and mainstem showed focal submucosal congestion and hemorrhage.
Liver: A section of the liver showed no significant histopathology.

Kidney: A section of a kidney showed autolysis and congestion.

Pancreas: A section of the pancreas showed focal autolysis and no significant histopathology.

Stomach: Sections of the stomach showed congestion and focal chronic inflammation,

Spleen: A section of the spleen showed no significant histopathology.

Adrenal Gland: A section of an adrenal gland showed no significant histopathology.

Skin: A section of the skin from the left buttock at the site of the TASER dart showed focal submucosal

pmorthage.

 

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Case 1:20-cv-03644-CCB Document 19-13 Filed 01/21/21 Page 7 of 17

 

 

 

 

 

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Anomalous Right Coronary Artery Arising from Single Common Ostium above Left

Coronary Sinus of Valsalva

| None 2 . BLACK POST MORTEM EXAMINATION REPORT PAGE
cad OFFICE OF THE CHIEF MEDICAL EXAMINER
“Case Number: 18-11079 STATE OF MARYLAND 5
[
PATHOLOGIC DIAGNOSES

Myocardial Tunneling, Mid Left Anterior Descending Coronary Artery, 18 min long and up to

7 mm. deep
Abrasions and Contusions of the Head, Back and Extremities
Taser Probe within Left Buttock

Petechiae and Hemorthages of the Eyes

Puimonary Congestion, Edema and Hemorrhage

Chronic Gastritis

History ee olar Disorder

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Name: « a. a BLACK POST MORTEM EXAMINATION REPORT PAGE
OFFICE OF THE CHIEF MEDICAL EXAMINER
'-| Case Number: 18-11079 STATE OF MARYLAND 6
OPINION:

This 19-year-old black male, ANTON MILBERT L. BLACK, died of SUDDEN CARDIAC DEATH due to
ANOMALOUS RIGHT CORONARY ARTERY AND MYOCARDIAL TUNNELING OF THE LFET
ANTERIOR DESCENDING CORONARY ARTERY. A significant contributing condition was bipolar
disorder. Per report, on 9/15/18 at ~ 7:10 pm law enforcement received a phone call that a man was physically
restraining a child. Upon arrival at ~ 7:13 pm, an officer arrived at the scene and saw the decedent restraining a
child. The officer asked the decedent to release the child which he did. The decedent then ran away. He was
pursued and ~ 2 minutes later he entered an auto and locked the doors. An officer used a baton to break the
Griver’s side window. The officer reportedly fired a TASER through the broken window, but the TASER was
described as having no effect. The decedent exited the auto and became involved in a physical altercation with
officers. The decedent waSiplaced prone on a handicap ramp leading to a residence. Three officers and a civilian
were involved in restraitiihg fhe de cedent, A video of the incident shows an officer lying across the decedent’s
back at one point. One offi Icer stad, that he assisted in restraining the decedent by placing his knees on the
decedent’s shoulder, with his right iched 3 i the left shoulder blade area at one point. Handcuffs were applied.
Approximately 3 minutes after the physical alteic} tion started, the decedent told his mother that he loves her.
Approximately 4 minutes later officers applied” ‘eg tgs sefaints; the decedent was noted by officers to not be
\ actively struggling after the application of the leg restiaihts, »,” Approximately 1 minute after the legs were
‘restrained, the decedent was noted to be unresponsive, but bre# hifigy a and with a pulse, Officers rolled him on his
side and then placed him in a sitting position. Approximately 9 fa nites later his mother noted that “he is
taming dark”. Officers then removed the hand cuffs, placed him on his peak, and started CPR (~ 11 minutes
afier the physical altercation started). Emergency medical services responded to the scene and continued CPR
(including use of a LUCAS device). He was transported to a hospital, but died. despite resuscitative efforts.
There was no evidence (based on a review of officer interviews and a video of the incident) that the decedent
was physically struck by officers, or had force applied to his neck. Reportedly, he may have recently smoked
“spice”. Per his medical record, he had recently been involuntarily hospitalized and diagnosed with bipolar
disorder. No other medical history was reported. Based on a review of the investigation and autopsy findings, it
is likely that the stress of his struggle contributed to his death. However, no evidence was found that restraint by
law enforcement directly caused or significantly contributed to the decedent’s deathy‘ii particular, no evidence
was found that restraint led to the decedent being asphyxiated. The manner of 92 week certified as accident.
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An ar 2 ee .
Russell Alexander, McD. David R. Fowler, M.D.
Assistant Medical Examiner Chief Medical Examiner
Date signed: {/ 23 // ?

RA/mwj/cs

 

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Case 1:20-cv-03644-CCB Document 19-13 Filed 01/21/21 Page 9 of 17

NEUROPATHOLOGY REPORT

Name: . . Black Case #: 18-1079
Sex: Male Age: 19
Race: Aftican American Medical Examiner: Dr, Alexander

Date of Death: September 15, 2018
MACROSCOPIC EXAMINATION of October 10, 2018

Brain Weight: 1600 grams (fixed)

Dura: Free of hemorrhage. Superior sagittal sinus is patent.
£2
orm,
Brain: The cerebral hemispheresrare symmetrical, the gyral pattern is normal, and the leptomeninges are
translucent. At the base of the traf: pigod vessels are free of atherosclerosis or malformation. Cranial
nerves are normal. The brainstent’ ‘and cerebellum are externally within normal limits. External

examination. of the brain reveals no recent or rats trauma.

 

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my
On coronal sections, the cerebral hemisphefes ‘ale symmetrical. The cortical gyri are normally
I developed, The cortex is of normal thickness and well- -demakeated from subjacent white matter. The
volume and myelination of the white matter are normal. The corpts calla um and anterior commissure
are of normal caliber. Basal ganglia, thalamus and hypothalamus are normal. The ventricular system is
of normal shape and size. Hippocampal formations and entorhinal cortices are normal. In the midbrain,
the aqueduct is patent and the substantia nigra is normally pigmented for age. Pons has no abnormality
of the tegmentum or basis. Medulla is normal. The cerebellum shows normal folia, white matter, and

deep nuclei.

Spinal Cord: The entire spinal cord, measuring 23.0 cm in length, is available for examination. The
dura is free of hemorrhage. External examination of the cord and horizontal sections are unremarkable.

 

Summary: 1. Normal brain.
2 Normal spinal cord.

Comment; This specimen shows no sign of remote or recent trauma. Microscopic sections are
pending.

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Date signed Official Document i &Fyousoso’ MD.
Do Not Remove i Neuropathologist

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Case 1:20-cv-03644-CCB Document 19-13 Filed 01/21/21 Page 10 of 17

NEUROPATHOLOGY REPORT
Name: .. . wae. a Black
Case #: 18-11079
Date of Death: September 15, 2018
Medical Examiner: Dr. Alexander

MICROSCOPIC EXAMINATION of November 8, 2018

Microscopic sections of the superior frontal cortex, basal ganglia, hippocampal formation, medulla,
cerebellum and spinal cord show no abnormality.

ae ;
In the cerebellurii there is postmortem autolysis.

 

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_ Date signed Do Not Remove-<-"_/ ; -f Juan C. Tronceso, M.D.
4 ee " ~€ 8% Neuropathologist
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Case 1:20-cv-03644-CCB Document 19-13 Filed 01/21/21 Page 11 of 17

ath PATIENT IDENTIFICATION

” CP Path Institute, Inc.

CAP 3105
BLACK, «
REPLY TO oe 18-11079 RV/ns/rjk
November 1, 2018
Russeli Alexander, M.D.
Office of the Chief Medical Examiner
900 West Baltimore Street
Baltimore, MD 21223
FINAL DIAGNOSIS

DIAGNOSIS: 18-11079 Autopsy, heart:
i. Anomalous right coronary artery arising from single common ostium above left coronary sinus of

Valsalva
2. Myocardial tunnel, mid LAD, 18 mm long and up to 7 mm deep

History: 19 year old black-male, 5'9", 159 lbs., was reportedly involved in possible child abduction; police were
called, chased the subject’: ton, faot, then tazed and handcuffed him; placed in seated position leaning against a

wall and went into cardiac artést, A ,

Heart: Received formalin fixed, 380 gramé: normal epicardial fat with rare epicardial hemorrhage (2-5mm)
overlying the anterior left ventricle at mid to apet level; closed foramen ovale; normal cardiac chamber
dimensions: left ventricular cavity diameter 37 mm, Tee es snificular free wall thickness 12 mm, ventricular
eptum thickness 12 mm, right ventricle thickness 3 mm; lek atti .endocardial fibrosis; fenestration of the right
Joronary cusp (RCC); myxomatous thickening of all three aortic ralyavenflets with mild LCC/RCC and
RCC/NCC commissural fusion; no gross myocardial fibrosis or necrosis hist talogic sections show unremarkable

myocardium without inflammation, necrosis or cardiomyopathic features ‘

Coronary arteries: Anomalous take-off of the right coronary artery from a slit-like common left coronary
ostium; right dominance; 18 mm span of mid left anterior descending (MLAD) tunneling into the left
ventricular myocardium up to 7 mm deep; no gross atherosclerosis; a section of the tunneled mid LAD shows

histologically normal artery

Conduction system: The sinoatrial node and sinus nodal artery are unremarkable. The compact atrioventricular
(AV) node, penetrating bundle and left bundle branch are intact without inflammation, increased fat or
proteoglycan, There is no dysplasia of the AV nodal artery. There are no discernible accessory conduction

- pathways.

19 Firstfield Road * Gaithersburg, MD 20878
Tel (801) 208-3570 * Fax (301) 208-3745

 

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Case 1:20-cv-03644-CCB Document 19-13 Filed 01/21/21 Page 12.0f 17

COVPath

“ScrPath dnstitute, inc.

CAP 5105 (18-11079) BLACK,

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aT : 4 a 4 5 be
BM sect AP SOG. "pare LS Reth BR srccmen CAPSIOG pare LHS
Superior epicardial view. af hi ‘et coronary artery (RCA) and left main coronary artery (LM) arising from a
ontie bows single ostium at level of sinotubular junction above left coronary

common ostium; opened aortic ootnt

    

sinus of Valsalva ve Op he

Re! Visine i ‘D.
President, CVPatit Tasditute

Blocks made: 6 (5 heart, 1 coronary artery) a
Slides made: 7 (6 H&E, 1 Movat)
Case received: September 21, 2018 s }

Pe tlh

Case completed: November 1, 2018

 

19 Firstfield Road ¢ Gaithersburg, MD 20878
Tet (301) 208-3570 * Fax (301) 208-3745

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OFFICE OF THE CHIEF MEDICAL EXAMINER
STATE OF MARYLAND TOXICOLOGY
900 W. BALTIMORE STREET
BALTIMORE, MO 21223 REPORT OF FINDINGS
Case # 18-11079 Lab # 418-4390
Deceased Name Black,
lf Previous Unknown
Medical Examiner Russell Alexander M.D.
Autopsied by Russell Alexander M.D.
Jurisdiction Talbot
' Specimen Submitted . Test Results
Blood Femora! Volatiles Ethanol Negative
Urine Drug Test (comprehensive) Negative
Blood Heart Drug Test (Individual) Alkaline Extractable Drugs Negative
Blood Heart _ NMS Labs Synthetic Cannabinoids UFT
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Pow a gy 18-11079
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Additional Toxicology 04/23/19

Toxicologist Rebecca Phipps Medical Examiner Russell Alexander M.B.

 

 

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"Wednesday, January 23, 2019

 
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OFFICE OF THE CHIEF MEDICAL EXAMINER
STATE OF MARYLAND TOXICOLOGY
900 W. BALTIMORE STREET
BALTIMORE, MD 21228 REPORT OF FINDINGS
\
Case # 18-11079 Lab # 18.420n
Deceased Name Black,
If Previous Unknown
Medical Examiner Russell Alexander M.D.
Autopsied by Russell Alexander M.D.
Jurisdiction Talbot
Specimen Submitted Test Results
Blood Femoral Volatiles Ethane! Negative
Urine Drug Test (comprehensive} Negative
18-11079
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eA} Ba
* A } ; “s
} kes
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8. ty
Toxicologist Rebecca Phipps Medical Examiner Russell Alexander M.D.
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~Tuesday, January 08, 2019 Page 1 of 1

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on |

Supplement

Report Maryiand Department of State Police
Victim, Complainant, Missing Person, or Arrestee (Last, First. Middle)

State of Maryiand

 

      

 

 

 

Incident, Offense, of Charge on Original Report Correct incident or Offense Class Changed?
Death Investigation nia C Yes
j Secondary Offense 64, Related Report Numbers

 

 

OCME Case # 18-11079

 

 

 

Focus of this supplement report:

The focus of this supplement report is to document the autopsy of Anton
Milbert L Black that was performed at the Office of Chief Medical Examiners, 900
W Baltimore Street, Baltimore Maryland 21223, which occurred on September 16,
2018. The autopsy was performed by Dr. Russell Alexander

Suspect(s) Information:

 

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Victim Information:
dley,.

 
 

 

 

 

 

 

 

45, Crime Prevention Action | 46. Previous Crime 47. Date Supplemental

initiated uYes X Noa Prevention Survey G Yes OX No f Report Ove

48. (nitial Status Recommended by reporting officer 49, initlal Investigator 1.0.Number 150. Date
X Open "Suspended GUnfounded Closed Cpl, Nathan Wi 4771 Oar tE\1s

51. Supervisor Status 52. investigation to ba continued by | 53. Reviewing Syverisor in 54. Date

    

Agree O Disagree Patrol Cnvestigation O N/A D/Sgt. Jon Monarek 9/1 G48
55. Investigation Supervisor Status | 86. investigation Suparvisar 57,Date | 58. Assigned Investigator | 59. Date
riPatrol Xinvestigative GNA | D/S gne& | Sgt. Howard Kanard 09/15/18
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installation CBR/UCR State’s Attorney Investigator

 

 

 

      
   

 

 

    
 

 

 

 

 

 

 

 

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Background Information;

On September 15, 2018, the Maryland State Police Homicide Unit was
requ ested to investigate an in custody death that occurred at

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Action Taken:

On September 16, 2018 at approximately 0820 hours, I responded to the
Office of the Chief Medical Examiner, Baltimore Maryland to attend the autopsy
of Anton Black.

MSP Personnel Present at Autopsy:

Cpl. N. Wilson (Maryland State Police, Criminal Investigation Division, Homicide
Unit)
CST Myers (Maryland State Police crime scene tech)

Autopsy performed by:

Dr. Russell Alexander
OCME Case # 18-11077

On Sunday, September 16, 2018 at 0205 hours, I was contacted by D/SGT.
John Monarek and requested to attend the autopsy of Anton Black that would be
conducted the same date. I arrived at the Office of Chief Medical Examiners at
0820 hours. It was at this time I learned that Dr. Russell-Alexander would be
performing the autopsy on Black.

Upon arrival to the Medical Examiner’s Office I entered the examination
“room and noticed Black’s body lying face up on the gurney. The body was absent
of clothing and his hands were bagged. A cursory examination of Black’s body
Initial investigator: A {iBME ; Date: .
Cpl. Nathan Wilson 4771 09/18/2018

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revealed a chest tube on Black’s left side. Black was photographed by the Medical

Examiner’s Office photographer.

Following the external and internal examination, I contacted Dr. Russell

Alexander to discuss the findings. Dr. Alexander indicated Black had numerous

scrapes and bruises, a hemorrhage on his back and indicated that Black's neck
looked good. Dr, Alexander advised the results of the autopsy would remain

PENDING for some time, in order to obtain additional testing on numerous parts

of Black's body (Heart, Brain and Toxicology).

All physical evidence obtained from Black and a copy of the autopsy photos,

were recovered from the OCME by CST Myers.

Case remains open.

Case Open

Detailed Supplements to Follow.

ASSIGNED INVESTIGATOR: Cpl. Nathan Wilson #4771

INVESTIGATIVE HOURS; 12 Hours

PRIMARY INVESTIGATOR: Sgt. Howard Kenard

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Initial Investigator _ _ . IBM Date,
Cpl. Nathan Wilson 4771 09/16/2018
MSP 924 (7/95) (~ f

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